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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ,
 MARCUS MARTIN, NATALIE ROMERO,
 CHELSEA ALVARADO, JOHN DOE, and
 THOMAS BAKER,

                               Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

 v.                                                       JURY TRIAL DEMANDED

 JASON KESSLER, et al.,

                               Defendants.


           [PROPOSED] ORDER SEALING EXHIBIT TO PLAINTIFFS’
      UNOPPOSED MOTION FOR ENTRY OF DEFAULT AGAINST DEFENDANT
         NATIONALIST FRONT PURSUANT TO FED R. CIV. P. 37 AND 55

         WHEREAS, on January 13, 2021, Plaintiffs filed an Unopposed Motion for Entry of

Default against Defendant Nationalist Front Pursuant to Fed. R. Civ. P. 37 and 55 (the “Motion”),

ECF No. 918, and did not publicly file Exhibit 4 because it contains Highly Confidential

Information as defined by the Order for the Production of Documents and Exchange of

Confidential Information dated January 3, 2018, ECF No. 167,

         WHEREAS, Plaintiffs have provided an unredacted copy of Exhibit 4 to the Court and

moved, pursuant to Local Rule 9, for that exhibit to be sealed,

         IT IS HEREBY ORDERED that Exhibit 4 to Plaintiffs’ Motion is hereby sealed pursuant

to Local Rule 9.

Dated:

SO ORDERED.

                                                     Hon. Joel C. Hoppe, M.J.
